




Criminal Case Template














COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS





DONALD EUGENE MOHLING,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.

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No. 08-02-00428-CR


Appeal from the


59th Judicial District Court


of Grayson County, Texas


(TC# 46753)



M E M O R A N D U M   O P I N I O N



	Appellant Donald Eugene Mohling timely perfected his appeal from his conviction
in this cause.  However, since that time, and prior to the time we rendered a decision in this
case, Appellant's counsel has advised this court of Appellant's death and requested that we
abate the appeal.  A certified copy of Appellant's death certificate was attached to this
communication.  Under applicable precedents in this state, the death of an appellant during
the pendency of his appeal deprives this Court of jurisdiction.  Ryan v. State, 891 S.W.2d 275 



(Tex. Crim. App. 1995).  Accordingly, we must, and do, permanently abate the appeal of this
cause.  Rhienlander v. State, 918 S.W.2d 527, 528 (Tex. Crim. App. 1996). 

August 25, 2004





	                                                               		 					RICHARD BARAJAS, Chief Justice



Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.



(Do Not Publish)


